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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CRIMINAL NO. 21-CR-0246 (ABJ)
                                              :
DANIEL JOSEPH RODRIGUEZ,                      :
                                              :
                       Defendant.             :


                        GOVERNMENT’S OPPOSITION TO
                 DEFENDANT’S MOTION TO SUPPRESS STATEMENTS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes the defendant’s Motion to Suppress Statements.

Because the defendant knowingly and voluntarily waived his right to remain silent under Miranda

v. Arizona, 384 U.S. 436 (1966), the defendant’s motion should be denied.

                               PROCEDURAL BACKGROUND

       The defendant is charged by indictment with violations of 18 U.S.C. §§ 1512(c)(2), 2

(obstructing an official proceeding, aiding and abetting); 18 U.S.C. § 231(a)(3) (certain acts during

a civil disorder); 18 U.S.C. §§ 111(a)(1) and (b) (assaulting, resisting, or impeding certain

officers); 18 U.S.C. § 641 (theft of government property); 18 U.S.C. § 1361 (destruction of

government property); 18 U.S.C. § 1752(a)(1) and (b)(1)(A) (unlawful entry and remaining on

restricted grounds with a deadly or dangerous weapon); 18 U.S.C. § 1752(a)(2) and (b)(1)(A)

(disorderly and disruptive conduct on restricted grounds with a deadly and dangerous weapon);

and 18 U.S.C. § 1752(a)(3) and (b)(1)(A) (impeding ingress and egress in restricted buildings and

grounds with a deadly or dangerous weapon). The obstruction charge carries a maximum statutory

penalty of twenty years.




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        The defendant has been detained pending trial since the date of his arrest on March 31,

2021. On October 15, 2021, the defendant filed his Motion to Suppress Statements (hereinafter

“the defendant’s motion”). ECF No. 38. The government hereby opposes.

                                         BACKGROUND 1

        On January 6, 2021, the defendant unlawfully entered the grounds of the U.S. Capitol

during the riot taking place while the Joint Session of Congress attempted to certify the results of

the 2020 Presidential Election. While on the grounds, the defendant interfered with U.S. Capitol

Police and Metropolitan Police Department officers who were protecting the entrance to the

Capitol building at the Lower West Terrace. Specifically, over the course of approximately 35

minutes, the defendant tossed a flagpole at the police line, used a fire extinguisher to spray officers,

worked with a mob to heave against the police line, and ultimately applied an electroshock weapon

to the neck of a Metropolitan Police Department officer, causing severe injuries. Subsequently, the

defendant entered the Capitol building through a broken window, used a large pole to smash a

second window inside the Capitol to enable other rioters to enter the building, and stole items from

an office inside the Capitol, including an emergency escape hood. The defendant committed these

acts for the purpose of interfering with the certification of the 2020 Presidential Election results.

        On March 31, 2021, at approximately 6:00 a.m., special agents from the Federal Bureau of

Investigation (“FBI”), executed an arrest warrant for the defendant at his home in Fontana,

California. At approximately 6:12 a.m., FBI Special Agents Nate Elias and Enrique Armenta took

custody of the defendant and transported him from his home to the Riverside office of the FBI,


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        This factual summary is being provided only as background information to aid the Court
in considering the defendant’s motion at issue and the government’s response in this pleading. It
is not a complete description of all the facts and evidence that might be established and admitted
at a hearing on the defendant’s motion or at trial. This factual description is a summary only, not
a complete description of all the details of the encounter and the statements made therein.


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where he was subsequently interviewed. See Exhibit 1, Transcript Defendant Interview. At

approximately 7:09 a.m., the defendant was placed in an interview room and was restrained via

handcuffs, which kept his right hand affixed to the wall. Special Agent Armenta came into the

room and spent approximately two minutes asking the defendant questions regarding COVID-19

safety protocols. Exhibit 1, Tr. 3:3-21. Special Agent Elias then entered the room, and both agents

introduced themselves formally. Exhibit 1, Tr. 4: 4-11. After approximately three minutes of

introductory questions and explanation as to why everyone was present, Special Agent Elias told

the defendant this was an opportunity for him to help the agents understand what happened from

his perspective. Exhibit 1, Tr. 5: 18-23. The defendant interrupted him by stating, “If I do that, I

don’t think it’s going to reduce my sentence or something.” Exhibit 1, Tr. 5:24-25. Immediately,

Special Agent Elias responded, “Well, let us read you some paperwork here and then we can talk

about how you might be able to help yourself out of your situation, okay?” Exhibit 1, Tr. 6: 1-3.

       Special Agent Armenta then began to read the defendant his rights, pursuant to Miranda v.

Arizona, 384 U.S. 436 (1966), stating, “Let me know if you understand everything and then if you

have any questions, you know?” Exhibit 1, Tr. 6:9-11. While Special Agent Armenta read the

Miranda warnings, Special Agent Elias removed the handcuffs restraining the defendant’s right

hand to the wall. Exhibit 1, Tr. 6: 5- 7:1. Then, Special Agent Armenta asked the defendant, “Do

you understand those rights?” and the defendant nodded his head in affirmation. Exhibit 1, Tr. 7:

1-3. Special Agent Armenta then handed the defendant a written copy of the Miranda warnings

for him to read to himself and acknowledge that he understood them. Exhibit 1, Tr. 7: 4-6. The

defendant took the paper, read the warnings silently to himself, and then stated that he did want to

talk, but in the past, lawyers had told him not to say anything. Exhibit 1, Tr. 7: 7-9. Special Agent

Elias responded:




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               Well, look. By signing this, you're just acknowledging that you were read
               your rights and that you're willing to talk to us at this time. Just because you
               signed it doesn't mean any of these rights go away. These rights are always
               with you throughout the entire process that you're in the legal system, okay?
               Does that make sense?

Exhibit 1, Tr. 7: 10-16. The defendant responded “yeah,” signed the paper with the warnings on

it, and pushed it back towards Special Agent Armenta. Exhibit 1, Tr. 7: 17; see also, Exhibit 2,

signed Advice of Rights. The defendant then proceeded to answer questions for approximately the

next two hours. At approximately 9:32 a.m., the agents took a six-minute break and let the

defendant get up and leave the room. Exhibit 1, Tr. 127: 2-12. The defendant then answered

questions for approximately one hour and fifteen minutes more, and the interview concluded at

approximately 10:50 a.m.

       The defendant never requested a lawyer. The defendant never invoked his right to remain

silent. The defendant remained out of handcuffs for the entire interview. The agents and the

defendant spoke calmly, and practically without interruption, for three and a half hours. During

the course of the examination, the defendant admitted to tasering Metropolitan Police Department

Officer M.F. (Tr. 73: 2- 74:1; 82: 12-22; 121:15-24), illegally entering the United States Capitol

building (Tr. 102: 5-8; 107:3-11), and attempting to break a window once inside the Capitol

building (Tr. 106: 15-24).

                                      LEGAL STANDARD
       The Fifth Amendment provides that “[n]o person . . . shall be compelled in any criminal

case to be a witness against himself.” U.S. Const. Amend. V. To safeguard that right, the police

must warn a suspect who is going to be questioned while in custody that he “has the right to remain

silent, that anything he says can be used against him in a court of law, that he has the right to the

presence of an attorney, and that if he cannot afford an attorney one will be appointed for him prior

to any questioning if he so desires.” Miranda v. Arizona, 384 U.S. 436, 479 (1966). While Fourth


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Amendment waivers need only be voluntary, Schneckloth v. Bustamonte, 412 U.S. 218 (1973), a

Miranda waiver must be both intelligent and voluntary. Miranda, at 471-72.

          These rights need not be word for word from the Miranda ruling. Substance, not form, is

the test. See, e.g., Florida v. Powell, 559 U.S. 50, 64, (2010) (“We decline to declare its precise

formulation necessary to meet Miranda’s requirements. Different words were used in the advice

[the defendant] received, but they communicated the same essential message.”); Duckworth v.

Eagan, 492 U.S. 195, 202 (1989) (“We have never insisted that Miranda warnings be given in the

exact form described in that decision.”); California v. Prysock, 453 U.S. 355, 359,

(1981)(“Miranda itself indicated that no talismanic incantation was required to satisfy its

strictures.”).

          A suspect who wishes to invoke his rights must do so unambiguously. See Berghuis v.

Thompkins, 560 U.S. 370, 381 (2010) (“There is good reason to require an accused who wants to

invoke his or her right to remain silent to do so unambiguously.”); Davis v. United States, 512 U.S.

452, 461-62 (1994) (“If the suspect’s statement is not an unambiguous or unequivocal request for

counsel, the officers have no obligation to stop questioning him.”). This requirement “results in an

objective inquiry that avoids difficulties of proof and provides guidance to officers on how to

proceed in the face of ambiguity.” Berghuis, 560 U.S. at 381. Where a suspect says something

ambiguous or equivocal, it is not only permissible but often “good police practice” to clarify

whether he wants to invoke his rights. Davis, 512 U.S. at 461; accord Berghuis, 560 U.S. at 381.

Where the suspect decides to talk, his statements may be admitted without violating the Fifth

Amendment if the government shows by a preponderance of evidence that he knowingly,

intelligently, and voluntarily waived his rights. See Colorado v. Connelly, 479 U.S. 157, 168-69

(1986).




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        The Supreme Court has indicated that the inquiry into whether a statement is obtained

voluntarily should be determined with reference to the totality of the circumstances. In determining

whether a defendant's will was overborne in a particular case, the Court has “assessed the totality

of all the surrounding circumstances—both the characteristics of the accused and the details of the

interrogation.” Bustamonte, 412 U.S. at 226. The ultimate question is whether the suspect’s “will

[has been] overborne” by “coercive police activity.” Colorado v. Connelly, 479 U.S. 157, 167, 178

n.2 (1986). If there is no coercive police activity, a statement is considered voluntary. Connelly,

479 U.S. at 167; Baird v. United States, 851 F.2d 376, 382 (D.C. Cir. 1988). Compare United

States v. Hallford, 816 F.3d 850, 856 (D.C. Cir. 2016) (no coercive police conduct where defendant

agreed to an interview with agents, agents asked “straightforward” questions in “conversational

tones”; defendant was not restrained; interview lasted less than an hour; defendant questioned in a

hospital and not in a police-dominated atmosphere; defendant was not tricked into answer

questions; defendant’s refusal to consent to a search of his vehicle showed his will was not

overborne), with Little v. United States, 125 A.3d 1119, 1133 (D.C. 2015) (defendant chained to

the ground and chair, denied counsel when requested, threatened that he would be raped if he went

to jail, and accused of crimes officers knew he did not commit, was coerced into confessing).

                                          ARGUMENT

         The defendant argues that the defendant’s statements were taken in violation of his Fifth

 Amendment rights and in violation of Miranda and its progeny. His claims lack merit for the

 reasons described below.

   I.      The Statement Made Prior to the Miranda Warnings Was Spontaneous and Not
           In Response to Questioning.

        “Volunteered and spontaneous statements made without Miranda warnings are

admissible if they were not made in response to police questioning.” United States v. Williamson,



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181 F. Supp. 3d 41, 43 (D.D.C. 2014); see also United States v. Samuels, 938 F.2d 210, 214 (D.C.

Cir. 1991)(holding that volunteered statements made without prompting from the police are

admissible without Miranda warnings). Law enforcement “surely cannot be held accountable for

the unforeseeable results of their words or actions,” and therefore interrogation under the Miranda

decision “can extend only to words or actions on the part of police officers that they should have

known were reasonably likely to elicit an incriminating response.” Rhode Island v. Innis, 446

U.S. 291, 301–02 (1980).

       Here, the defendant points to nothing to suggest that his statement “If I do that, I don't

think it's going to reduce my sentence or something,” which was made in response to the

statement from Special Agent Elias “And I think that there's an opportunity here for us to get

clarity on what went down and what you see happened,” before Miranda warnings were given,

was involuntary nor made in response to questioning from law enforcement. First, the statement

was made before the agents even mentioned January 6, 2021, the U.S. Capitol, the tasing of

Metropolitan Police Department Officer M.F., or any illegal activity at all, or asked any questions

about the defendant’s involvement. Second, during the defendant’s recorded statement to the FBI

Special Agents, nothing the agents did before the Miranda warning was characterized by the sort

of pressure that would have overborne the defendant’s will. The statement was made

approximately six minutes into the interaction with the agents, (Exhibit 1, Tr. 5:24-25), the agents

spoke to the defendant in a non-threatening conversational tone, and they did not use physical

force, punishment, or threats. The fact that the defendant asked questions and answered the

preliminary questions posed to him suggests the opposite—the defendant was in full command

of his faculties. Accordingly, the defendant’s statement before Miranda was merely spontaneous,




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was volunteered not in response to law enforcement questioning, and should not be suppressed. 2

    II.      The Defendant was Given Valid Miranda Warnings by the FBI Agents.

          The agents gave warnings almost identical to the language from Miranda. The Miranda

decision states that “[p]rior to any questioning, the person must be warned that he has a right to

remain silent, that any statement he does make may be used as evidence against him, and that he

has a right to the presence of an attorney, either retained or appointed.” Miranda, 384 U.S. at

444. Special Agent Armenta first read the defendant the following warnings:

          You have the right to remain silent… Anything you say can be used against you in
          court… You have the right to talk to a lawyer for advice before we ask you any
          questions. You have the right to have a lawyer with you during questioning. If you
          cannot afford a lawyer, one will be appointed for you before any questioning, if you
          wish. If you decide to answer questions now without a lawyer present, you have the
          right to stop answering at any time, okay? Do you understand those rights?

Exhibit 1, Tr. 6:13 - 7:2. Then, Special Agent Armenta gave the defendant the same warnings in

writing, which the defendant signed after reviewing. Exhibit 2.

          The validity of these warnings was not diminished by Special Agent Armenta’s subsequent,

additional statement “if I ask a question or something makes you uncomfortable, just to let me

know.” Exhibit 1, Tr. 7: 18- 20. Despite the defendant’s argument that this statement somehow

“narrowed the scope” of the defendant’s rights—for which they provide no legal citation (ECF

No. 38, at 16)—the agent’s additional statements go beyond what is legally required by Miranda,


2
 Should the Court find otherwise, the government submits the statements are still admissible as
impeachment because the statement was voluntary, as discussed infra at Section V. See, e.g.
Harris v. New York, 401 U.S. 222, 226 (1971) (“The shield provided by Miranda cannot be
perverted into a license to use perjury by way of a defense, free from the risk of confrontation
with prior inconsistent utterances.”); Oregon v. Hass, 420 U.S. 714, 723 (1975)(holding that
defendant’s statements that did not involve coercion or duress may be used as impeachment, as
“inadmissibility would pervert the constitutional right into a right to falsify free from the
embarrassment of impeachment evidence from the defendant's own mouth.”)




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giving the defendant the option let the agents know he no longer wants to answer questions about

which he feels uncomfortable. See, e.g., Florida v. Powell, 559 U.S. at 64 (2010) (holding that

communicating the same essential message as the warnings in Miranda is sufficient). Nothing in

the agents’ statements nor in the written document provided to the defendant was obfuscated by

Special Agent Armenta’s statement, and the warnings were nearly verbatim from Miranda.

Therefore, the warnings, and the subsequent statement, were legally sound under Miranda and its

progeny.

   III.      The Defendant’s Waiver Was Voluntary, Knowing and Intelligent, and Was
             Never Revoked During the Custodial Interview.

          The procedural safeguards in place after Miranda require that not only that the defendant

receive proper warnings about his rights, but that “after such warnings have been given, and such

opportunity afforded him, the individual may knowingly and intelligently waive these rights and

agree to answer questions or make a statement.” Miranda, 384 U.S. at 479. “The waiver inquiry

has two distinct dimensions: waiver must be ‘voluntary in the sense that it was the product of a

free and deliberate choice rather than intimidation, coercion, or deception,’ and ‘made with a full

awareness of both the nature of the right being abandoned and the consequences of the decision to

abandon it.’” Berghuis, 560 U.S. at 382–83 (quoting Moran v. Burbine, 475 U.S. 412, 421 (1986)).

          A review of the defendant’s behavior during the interview makes plain that his waiver was

voluntary, knowing and intelligent. The defendant expressed a desire to speak with the agents, but

knew, from previous interactions with lawyers, that may not inure to his benefit. Exhibit 1, Tr. 7:

7-9. The fact that the defendant mentioned that he had previously spoken to attorneys about the

exact situation in which he found himself—in custody and faced with answering questions by law

enforcement—indicated that he was fully aware of ability to invoke his right to remain silent and

was choosing not to make that invocation. Exhibit 1, Tr. 7: 7-9 (“MR. RODRIGUEZ: I want to


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talk to you guy[s] and, in the past, lawyers have always told me, you know, you don't say anything.

They're not going to help you.”) The defendant understood the rights read to him, as evidenced by

the fact that he affirmatively nodded in response when Special Agent Armenta finished and that

he signed the paper containing the written warnings. Exhibit 1, 7: 3. The defendant even admitted

to previous contacts with the law enforcement and other arrests, which provides evidence of prior

knowledge with the workings of the legal system. Exhibit 1, Tr. 18: 12-14. (“MR. RODRIGUEZ:

-- and I have, like, a bad, you know, history of getting arrested with tickets and stuff, right? You

saw my record.”) The defense does not allege any mental illness, language barrier, or other defect

that would have made it difficult for the defendant to understand the warnings given to him and

waive the rights therein intelligently. Barring such evidence, the statements made subsequent to a

valid waiver, after both oral and written Miranda warnings were given, should be admissible.

       Additionally, at no point during the defendant’s interview did he refuse to give a statement

or unambiguously invoke his right to remain silent. See, Berghuis, 560 U.S. at 381-82. An

ambiguous colloquy is not a sufficient invocation of the defendant’s right to remain silent. The

Supreme Court requires “an unambiguous invocation of Miranda rights” such that it “‘avoid[s]

difficulties of proof and ... provide[s] guidance to officers’ on how to proceed in the face of

ambiguity.” Id., at 381(quoting Davis, 512 U.S. at 458-59). If an ambiguous act, omission, or

statement could require police to end the interrogation, “police would be required to make difficult

decisions about an accused’s unclear intent and face the consequence of suppression.” Id., at 382.

       A simple “no,” approximately 40 minutes into the interview, in response to a question

about whether the defendant wanted to talk about the specific assault on the officer is not an




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unambiguous invocation, 3 particularly when the defendant immediately responded to the follow

up statement by Special Agent Elias that “Everybody else is going to talk about it, ” by stating

“Yeah. I’m pretty ashamed.” Exhibit 1, Tr. 37: 23- 38:6. It is also notable that the defendant

routinely speaks at great length during the interview, with little prodding from the agents, a strong

indication of the voluntariness of his statements and his willingness to continue. As such, the

defendant knowingly, intelligently, and voluntarily waived his rights under Miranda and his

statements should be admitted.

    IV.      The Agents Did Not Perform an Impermissible Two-Step Interrogation By
             Speaking to the Defendant Before the Miranda Warnings.

          Contrary to the defendant’s argument that the agents gave an impermissible “midstream

recitation” of the Miranda warnings, the agents gave the defendant his Miranda warnings after

merely six minutes of interacting with the defendant, and before any substantive questioning had

begun. The defendant’s reliance on the plurality opinion in Missouri v. Seibert, 542 U.S. 600

(2004) is unpersuasive when viewed in light of this jurisdiction’s case law after Seibert and the

facts of this case.




3
 The D.C. Circuit has found that a simple “no” can be an unambiguous invocation of the right to
remain silent in some factual circumstances in United States v. Murdock, 667 F.3d 1302, 1304
(D.C. Cir. 2012). The government believes the facts in this case are distinct from the “no” in
Murdock, which was given multiple times in response to the law enforcement officer’s
explanation to the defendant that he had no obligation to speak, but asked him whether he wished
to talk anyway. The “no” in this case does not come in response to the Miranda warnings, or in
response to the general question of whether the defendant wants to waive his right to speak to
law enforcement at all. The defendant’s “no” comes in response to a specific question about the
most violent allegation in the case, and was subsequently abandoned. The defendant also stated
during the course of the questioning that he did not want to talk about how he got to D.C.
because he “[didn’t] want to get anyone in trouble,” but subsequently addressed the agents’
questions on that point as well. Exhibit 1, Tr. 36: 8-10. The agents cannot be put in a position to
guess as to whether a simple “no” is actually an invocation of the defendant’s right to remain
silent, or whether it is a momentary hesitation to a difficult question, which is ultimately
abandoned.

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        The plurality and concurrence opinions in Seibert are primarily concerned with a

“question-first, warn-second” tactic that could be coercive. Id. at 604. Two tests emerge from the

Seibert decision: the plurality approach, which focuses on the effectiveness of the warnings, (id.

at 611-612) and Justice Kennedy’s approach, which focuses on the intent of the interrogating

officer (id. at 621). Though the D.C. Circuit has not opined on which test it may apply, see United

States v. Straker, 800 F.3d 570, 617 (D.C. Cir. 2015)(“We need not pick sides in that debate”), it

is clear that the totality of the circumstances must be considered to determine if “the manifest

purpose behind such a tactic is to ‘get a confession the suspect would not make if he understood

his rights at the outset.’” United States v. Hitselberger, 991 F. Supp. 2d 130, 141 (D.D.C. 2014)

(citing Seibert, at 613). No tactic is per se unconstitutional, id. at 141, and indeed, several cases in

this District have rejected arguments that Miranda warnings given “midstream” were ineffective

or warranted suppression. See, e.g., Hitselberger, at 134 (holding there was no impermissible two-

step interrogation where, in the 38 minute conversation before Miranda warnings were given, the

agents did not ask the defendant any questions about the precipitating incident.); United States v.

Apodaca, 275 F. Supp. 3d 123, 146 (D.D.C. 2017)(holding no violation of defendant’s rights when,

six minutes into the conversation, the defendant was given the advice of rights form and there was

no questioning of the defendant before he had reviewed the form.); United States v. Abu Khatallah,

275 F. Supp. 3d 32, 64 (D.D.C. 2017) (holding that, regardless of which Seibert test is applied, a

two-day break between the two sets of interviews and clearly distinct subject matters does not

create an impermissibly coercive interview.)

        Furthermore, this case is factually distinct from Seibert in several ways. First, the officer

interrogating the defendant in Seibert was following explicit instruction to refrain from giving

Miranda warnings. Seibert, at 604. No such allegation can be made here, especially given the




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swiftness with which the agents moved from rapport-building to giving Miranda warnings once

the defendant started to discuss his possible criminal exposure. Exhibit 1, Tr. 5:24 – 6:3. 4 Second,

the officer in Seibert questioned the defendant for 30 to 40 minutes before warnings were given.

Seibert, at 604. The agents here interacted with the defendant for approximately six minutes before

warnings were given, including the time it took to complete a COVID-19 questionnaire. Third, the

officer in Seibert squeezed the defendant’s arm and repeated “Donald was also to die in his sleep,”

a statement directed at the heart of the criminal case against the defendant. Seibert, at 605. Here,

the agents never laid a hand on Rodriguez, except to assist in removing his handcuffs, and never

asked a single question about January 6, 2021, the United States Capitol, or the tasing of Officer

M.F. during the introductory statements. Finally, it is not even clear that, unlike in Seibert, the

defendant gave any kind of inculpatory statement before the warnings were given. “If I do that, I

don’t think it’s going to reduce my sentence or something,” (Exhibit 1, Tr. 5:24-25), in response

to agent’s statements to the defendant regarding their intention to give him the opportunity to help

them understand the situation, is hardly a confession. Indeed, the defendant’s later statement that

“lawyers have always told me, you know, you don't say anything. They're not going to help you,”

(Exhibit 1, Tr: 7: 7-9) indicates that the first statement was more a general concern that the talking

to law enforcement never helps anyone in a legal case, not that the defendant specifically will be

serving a sentence because he indeed committed a crime. There is no reason to believe that, with

this statement alone, the “damage was done,” as defense suggests (ECF No. 38 at 18), and therefore




4
 Agent Elias was in the midst of providing a roadmap for the interview when the defendant
interjected and began to acknowledge criminal liability while questioning the utility of providing
a fulsome statement. Agent Elias quickly interrupted to say, “Well, let us read you some
paperwork here and then we can talk about how you might be able to help yourself out of your
situation, okay?” Exhibit 1, Tr. 5:9-6:4. Thus, it appears that defendant’s eagerness to speak got
out in front of the agents’ plan.

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the defendant felt the cat was out of the bag and he had to waive his Miranda rights. Oregon v.

Elstad, 470 U.S. 298, 311(1985)(rejecting the “cat out of the bag” theory when voluntary

unwarned admissions were made and proscribed official coercion played no part in either the

warned or unwarned confessions.) And it is certainly not a statement the agents relied upon during

the rest of the interview to coerce a confession only after Miranda warnings were given.

        Much like in Hitselberger, the agents asked only general questions with the purpose of

establishing a rapport with the defendant, not to elicit a confession. Hitselberger, 991 F. Supp. 2d

at 141. The moment the defendant said anything that could possibly be construed as inculpatory—

when he mentioned a potential jail sentence—the agents immediately turned to the “paperwork,”

read his Miranda rights aloud, and had him sign the advice of rights. Exhibit 1, Tr. 6:1 – 7:22.

Nothing in the six minutes before the defendant was given his Miranda warnings should cause this

Court to believe those warnings were functionally ineffective, nor that the agents intended to

coerce any inculpatory response from the defendant.

   V.      The Defendant’s Statements Were Voluntary, Not Coerced, and Should be
           Admissible at Trial.

        The defendant’s argument that his confession was involuntary is not factually accurate nor

legally sound. When reviewing voluntariness and possible coercion, the Court must look to the

totality of circumstances, including both the characteristics of the accused and the details of the

interrogation. Bustamonte, 412 U.S. at 226. The Supreme Court has held that the ultimate question

is whether the suspect’s “will [has been] overborne” by “coercive police activity.” Colorado v.

Connelly, 479 U.S. 157, 167, 178 n.2 (1986). If there is no coercive police activity, a statement is

considered voluntary. Connelly, 479 U.S. at 167; Baird v. United States, 851 F.2d 376, 382 (D.C.

Cir. 1988). If a suspect gives a statement solely as a result of an internal condition, e.g., insanity

or intoxication, there also is no constitutional violation. Connelly, 479 U.S. at 167. It has long been


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the rule that the mere fact that an accused is in custody and subjected to police questioning is not

sufficient to raise a voluntariness issue. United States v. Bernett, 495 F.2d 943, 956 (D.C. Cir.

1974). Rather, something besides custody and ordinary questioning must come into play. Id.

       Here, the defendant alleges “coercive pressures” forced the involuntary statements made

during the interview. ECF No. 38, at 22. Yet, the allegedly coercive tactics the defendant cites are

anything but. Review of the transcript shows the agents asking typical questions about why the

defendant committed the acts in question (Tr. 114:3-5), showing the defendant videos and giving

the defendant the opportunity to correct their misimpressions about what the videos showed (Tr.

74:19-75:22; 78:20-82:21), and reassuring the defendant that they were not there to judge him or

look at him as anything other than a fellow human being (Tr. 16: 25- 17:13). The defendant cites

to no case explaining why any of these questioning tactics could be construed as coercive.

       Yet, the D.C. Circuit has given guidance on what is considered coercive and noncoercive

tactics such that the will of a defendant is either overborne or freely exercised. For instance, a law

enforcement officer’s “nonthreatening behavior” militates “towards a noncoercive encounter.”

United States v. Hall, 969 F.2d 1102, 1108 (D.C. Cir. 1992). In Hall, the Court found the officer

who questioned the defendant applied a minimal level of pressure when the officer was dressed in

plain clothes, his weapon was concealed, he spoke in a conversational tone, and no threats or force

were used. Id. at 1107. In United States v. Murdock, 667 F.3d 1302, 1307 (D.C. Cir. 2012), the

Court found that the questioning detective’s statements that he would investigate any claims made

by the defendant, which could affect his charging, did not undermine the evidence of voluntariness.

In United States v. Hallford, 816 F.3d 850, 858 (D.C. Cir. 2016), the Court rejected the trial court’s

assessment that there was substantially coercive police conduct when the defendant agreed to an

interview, the agents asked straightforward questions in conversational tones, and he was deprived




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of no essentials. In United States v. Cooper, 949 F.3d 744, 749 (D.C. Cir. 2020), the Court found

statements were given freely and voluntarily when no weapons were brandished and no handcuffs

were used, the defendant was “cooperative,” the agents employed a “professional and cordial

tone,” and at no point did the defendant ask to end the questioning.

       The same is true of the agents in this case. Special Agents Elias and Armenta were dressed

in casual clothes, were cordial and professional, and never brandished their weapons or used force

or threats of any kind. Special Agent Elias removed the defendant’s handcuffs (Exhibit 1, Tr. 6: 5-

7:1) and the defendant was allowed to leave the room, unshackled, for a bathroom break (Exhibit

1, Tr. 127: 2-12). Perhaps most importantly, the defendant stated from the beginning that he wanted

to speak with the agents (Exhibit 1, Tr. 7: 7), and never stated otherwise throughout the interview

that he wished to terminate the interaction. Because the statements were voluntary and not the

result of coercive police tactics, they should not be suppressed.

                                         CONCLUSION

       WHEREFORE, for the reasons stated above and for any other reason presented at the

hearing or in the record, the United States respectfully requests that the defendant’s Motion to

Suppress be DENIED.



Dated: OCTOBER 29, 2021                       Respectfully submitted,


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                                              Acting United States Attorney

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